        Case 2:18-cv-06975-ODW-KS Document 9 Filed 08/23/18 Page 1 of 1 Page ID #:161
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                      CASE NUMBER
MICHAEL TERPIN,                                                       2:18-cv-06975-ODW-KS

                                                     Plaintiff(s),
                                v.
                                                                             NOTICE OF DISMISSAL PURSUANT
AT&T INC.; AT&T Mobility, LLC; and DOES 1-25,                                 TO FEDERAL RULES OF CIVIL
                                                                                 PROCEDURE 41(a) or (c)
                                                   Defendant(s).

PLEASE TAKE NOTICE: (Check one)

         This action is dismissed by the Plaintiff(s) in its entirety.

         The Counterclaim brought by Claimant(s)                                                                               is
         dismissed by Claimant(s) in its entirety.

         The Cross-Claim brought by Claimants(s)                                                                               is
         dismissed by the Claimant(s) in its entirety.

         The Third-party Claim brought by Claimant(s)                                                                          is
         dismissed by the Claimant(s) in its entirety.

         ONLY Defendant(s) AT&T Inc.

         is/are dismissed from (check one)       Complaint,          Counterclaim,   Cross-claim,     Third-Party Claim
         brought by

    The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).




    August 23, 2018                                  /s/ Timothy J. Toohey
                Date                                                 Signature of Attorney/Party




NOTE: F.R.Civ.P. 41(a): This notice may be filed at any time before service by the adverse party of an answer or of a motion for
      summary judgment, whichever first occurs.

         F.R.Civ.P. 41(c): Counterclaims, cross-claims & third-party claims may be dismissed before service of a responsive
         pleading or prior to the beginning of trial.
CV-09 (03/10)          NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41(a) or (c)
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